                                                           (SPACE BELOW FOR FILING STAMP ONLY)
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 3                PHONE (559) 233-2900
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 4
 5     ATTORNEYS FOR    Defendant,
                       EDDY A. GEORGE
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10                                       * * * * * * * *
11   UNITED STATES OF AMERICA,                   Case No.: CR-F-03-5453 OWW
12                Plaintiff,
13         vs.                                   STIPULATION TO CONTINUE FILING
                                                   OF MOTION FOR NEW TRIAL AND
14   EDDY A. GEORGE,                                        SENTENCING
                                                               and
15                Defendant.
                                                              O R D E R
16
17         IT IS HEREBY STIPULATED by and between attorneys for the
18   respective parties herein that the dates for the filing of
19   Motions for New Trial and the Sentencing be continued as follows:
20                                       Current Date               Continued Date
21   Filing of Motion for                July 5, 2005               August 2, 2005
     New Trial
22
23   Government Response                 July 25, 2005              August 22, 2005
24
     SENTENCING                          August l, 2005             August 29, 2005
25
26         Counsel for Defendant GEORGE has spoken with Assistant U. S.
27   Attorney, KAREN ESCOBAR, as well as with all other defendant
28   ///
      Case 1:03-cr-05453-JLT Document 253 Filed 07/05/05 Page 2 of 3


 1   attorneys, who are agreeable to this short continuance.
 2        DATED: June 28, 2005.
 3                                     Respectfully submitted,
 4                                     NUTTALL & COLEMAN
 5                                         /s/ Roger T. Nuttall
                                       By: ___________________________
 6                                              ROGER T. NUTTALL
                                            Attorneys for Defendant
 7                                             EDDY A. GEORGE
 8        DATED: June 28, 2005.
 9
                                            /s/ Nicholas F. Reyes
10                                     ___________________________
                                            NICHOLAS F. REYES
11                                      Attorney for Defendant
                                            RITO S. ZAZUETA
12
13        DATED: June 28, 2005.
14
                                            /s/ Timothy B. Rote
15                                     _________________________
                                            TIMOTHY B. ROTE
16                                      Attorney for Defendant
                                            MICHAEL NOBARI
17
18        DATED: June 28, 2005.
19
                                       _____/s/ Ed Hunt
20   _________________
                                             ED HUNT
21                                       Attorney for Defendant
                                             EDISON SHINO
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     Case 1:03-cr-05453-JLT Document 253 Filed 07/05/05 Page 3 of 3


 1                                O R D E R
 2
 3       Good Cause Appearing,
 4       IT IS SO ORDERED.
 5
 6       DATED: June __30__, 2005.
 7
 8
                                 /s/ OLIVER W. WANGER
 9                               _________________________
10                                   OLIVER W. WANGER
                                 Judge, U. S. District Court
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